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                                                                                             2501 Investigation Parkway
                                 FBI Laboratory                                                Quantico, Virginia 22135

                                                                                                        4940 Fowler Road
                                                                                               Huntsville, Alabama 35898
                                                         LABORATORY REPORT

                To:     Aaron Kellerman                            Date:   July 21, 2021
                        Relief Supervisor
                        Richmond                                   Case ID No.:   RH-3459979

                                                                   Lab No.:   2021-01407-2
                Communication(s):      July 9, 2021
                Agency Reference(s):   WF-3366759
                Subject(s):

                Victim(s):

                Discipline(s):         Explosives Device
                This document may contain personally identifiable information and must be afforded the
                protections required by applicable law, regulation, and policy. If you are not the intended
                recipient of this document, please destroy it promptly without further retention or dissemination,
                unless otherwise required by law.
                FBI Laboratory Evidence Designator(s):

                THE ITEMS WERE RECEIVED INTO THE FBI LABORATORY ON JULY 14, 2021,
                UNDER COVER OF COMMUNICATION DATED JULY 9, 2021, ASSIGNED
                LABORATORY NUMBER 2021-01407 #1, AND EXAMINED IN THE EXPLOSIVES
                UNIT:
                Item 1               Powder sample (1B11)
                Item 2               Metal pipe and two metal end caps (1B5)
                Item 2-1             Fuse (external from Item 1) (1B5)
                Item 2-1-1           Piece of fuse (internal from Item 1)

                Administrative:

                Per FBI Laboratory Evidence Request file number RH-3459979 Serial 10, Richmond submitted
                evidence to the FBI Laboratory for examination. The request is based upon a search warrant that
                was conducted at a residence, 1765 Otter Drive, Ferrum, Virginia on June 29, 2021 related to the
                online purchase of firearms. During the search, a pipe with end caps and a fuse affixed to one
                end was located in subject's garage, Item 1B5. The device was inside of an ammunition can
                labeled "ALERRT kit, props and booby trap sims." The ammunition box was located adjacent to

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                a work bench and garage shelving that contained approximately 50 cans of black or smokeless
                powder, including a 16 ounce can of FFG Goex Black Rifle Powder that was seized as a
                representative sample, Item 1B11. A derivative sample of 1B11 is being submitted to the
                Laboratory. The FBI Laboratory is requested to provide an analysis and opinion on the
                explosive device and conduct latent fingerprint and DNA analysis on the device.
                This report contains the results of the Explosives and Hazardous Device examinations conducted
                in the Explosives Unit.

                Conclusion:

                It is the opinion of this Explosives and Hazardous Devices Examiner that contained in the
                submitted items of evidence are components that could be used to readily assemble one (1)
                improvised explosive device (IED).

                IEDs are also commonly referred to as homemade bombs. The general components of an IED
                are an explosive main charge, a fuzing system, and sometimes a main charge container and/or a
                concealment container. Present in this submission are low explosives, a non-electric fuzing
                system, and a main charge container. Based on the configuration of the fuzing system, it is
                designed to function the IED by time. The resulting explosion from an IED of this type could
                cause property damage, personal injury and/or death.

                Destructive Device:

                A destructive device is an improvised explosive device (IED) that has the functional
                characteristics and/or design elements of a weapon. The design of the device incorporated an
                element that has been utilized by bomb builders to increase an IED’s potential to inflict property
                damage, personal injury, or death. This element includes the use of a metal main charge
                container. Due to this design element, it is the opinion of this examiner that the IED components
                present meet the two technical elements of a destructive device. Properly assembled and
                initiated, the resulting explosion of this destructive device could cause property damage, personal
                injury, or death. The two elements of a destructive device are purely technical, not legal, and are
                not meant to infer the intent of the individual(s) who constructed the device. A detailed
                description of the components that comprise this device is provided hereafter.”

                Results of Examination:

                Explosive Main Charge:

                Item 1 and was identified as a low explosive black powder. For detailed information on the
                chemical analyses conducted, see FBI Laboratory Report by Robert W. Gillette, Explosives Unit,
                2021-01407-3 dated July 20, 2021. (RWG)

                When properly ignited by a suitable source of heat, low explosives are designed to deflagrate and
                generate gases. Properly confined in a container, the gases generate pressure on the container
                walls and can cause an explosion of the container.

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                Non-Electric Fuzing System:

                Present in Item 2-1 is a length of red colored time fuse also known as hobby fuse. The length of
                the hobby fuse measures approximately 4.5 inches in length and 0.93 inch in diameter. A
                photograph of the hobby fuse is depicted below in figure #1:

                Hobby fuse is a fiber, impregnated with a pyrotechnic mixture and surrounded by a weatherproof
                coating. The purpose of hobby fuse is to initiate an explosive charge by transmitting a flame
                down the fuse length to a low explosive powder. The hobby fuse would provide a safe-
                separation time from the time the IED was initiated and until it would explode. Based on the
                submitted length of hobby fuse, the safe separation time may have been approximately 5.6
                seconds – 9.3 seconds based on an average burn rate of 15 – 25 seconds per foot.

                A sample of the fuse was taken and deemed Item 2-2-1. The core material removed from the
                Item 2-1-1 fuse was identified as a low explosive black powder. For detailed information on the
                chemical analyses conducted, see FBI Laboratory Report by Robert W. Gillette, Explosives Unit,
                2021-01407-3 dated July 20, 2021. (RWG)

                Main Charge Container:

                Present in Item 2 is the main charge container. A photograph of Item 2 is depicted below in
                Figure #1:




                   Figure #1: Item 2 – Main Charge Container and Hobby Fuse - Non-Electric Fuzing System



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                Item 2 consists of one (1) silver colored metal pipe nipple measuring approximately 4.5 inches in
                length, an outer diameter of approximately 1.25 inches, an inner diameter of approximately
                1.062 inches, and with a thread pitch of approximately 11.5 threads per inch (TPI). There are no
                manufacturer markings present on the pipe nipple.

                Also present in Item 2 are two (2) metal endcaps. One is a silver colored metal endcap that bear
                markings consistent with those from the Smith Cooper International (SCI) brand. The endcap is
                attached to the pipe nipple. The endcap measures approximately 1.75 inches in outer-diameter
                and 1.25 inches tall. Manufacturer information on the endcap is as follows:

                                                           Logo: “SCI”
                                                            “CHINA”
                                                              “1”

                An open source search for “SCI” revealed the following information:

                                                    “Smith Cooper International
                                     Corporate Office 2867 Vail Avenue, Commerce, CA 90040
                                                       Phone 800-766-0076”

                The other endcap is a rust-colored metal endcap that bear markings consistent with those from
                the Mueller brand. The endcap is not attached to the pipe nipple. The endcap measures
                approximately 1.75 inches in outer-diameter and 1.37 inches inner-diameter. A priming hole is
                drilled into this endcap measuring approximately 0.125 inch in diameter. The priming hole is
                designed to allow the hobby fuse to pass through it. Manufacturer information on the endcap is
                as follows:
                                                           Logo: “M”
                                                            “CHINA”
                                                              “1”

                An open source search for “M” revealed the following information:

                                                 “Mueller Industries Headquarters
                                       15 Schilling Blvd., Suite 100, Collierville, TN 38017
                                                      Phone 901-753-3200”

                Device Functioning:

                The functioning of this IED would occur when the non-electric fuse (Hobby Fuse) would be
                ignited. The flame would travel the length of the hobby fuse into the main charge container
                (Metal Pipe Nipple and Endcaps) through the priming hole. The main explosive charge (low
                explosive material) present inside the main charge container would be ignited by the flame and
                begin to burn. The rapid burning of the powder would generate gasses and high pressure within
                the confinement of the main charge container causing it to fracture and fail. The failure of the


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                container and continued rapid expansion of gasses is then an explosion. The fragmented remains
                of the metal pipe main charge container would be projected outwards at a high velocity.

                General Limitations:

                     x   Conclusive identifications of the source of an item may not be realized in every case due
                         to the absence or alterations of specific manufacturer or other unique markings on items
                         of evidence.

                     x   Item source identifications that refer to a specific distributor or manufacturer have not
                         been confirmed with that distributor or manufacturer unless otherwise stated in this
                         report.

                     x   The physical characteristics, such as, but not limited to, material type, shape, and color of
                         all evidentiary items described in the Results of Examination section of this report are
                         based on visual and/or microscopical observations, unless otherwise noted. Other
                         parameters such as, but not limited to, distances, angles, and voltages associated with
                         individual evidentiary items described in the Results of Examination section of this report
                         are based on physical measurements and are approximate, unless otherwise noted. Should
                         a more complete characterization of these items be required, additional examinations can
                         be requested of the appropriate forensic discipline. Diagrams such as, but not limited to,
                         drawings and schematics are not to scale, unless otherwise noted.
                Methods:

                The methods utilized during the analysis of the evidentiary items included the following:
                   x visual examinations of observable, physical characteristics;
                   x measurements of physical characteristics;
                   x visual examinations of photographs;
                   x reviews of references: and
                   x reviews of relevant case documentation.

                Interpretations and Limitations:

                The two elements that must be met to make an affirmative destructive device determination are
                that the device or device components constitute an explosive or incendiary device and that the
                device or device components possess the functional characteristics and/or design elements of a
                weapon. These two elements are purely technical, not legal, and are not meant to infer the intent
                of the individual(s) who constructed the device.
                Conclusive determinations of the exact design and functioning of a rendered safe or
                disassembled improvised explosive device may not be effected in every case due to the condition
                of the components.

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                Remarks:

                This is the final report of analysis of the Explosives Unit. Examinations are continuing in the
                DNA and Latent Print Operations Units. Evidence will remain at the FBI Laboratory until
                conclusion of those examinations. For questions about the content of this report, the status of
                your submission, or the status of examinations conducted by other FBI disciplines, please contact
                Case Manager Christopher Rigopoulos at (703) 632-7648. The completed results of
                examinations conducted by other FBI Laboratory disciplines are the subject of separate reports:

                        UNIT                Examiner               Report Number           Date of Report
                    Explosives Unit        Robert Gillette          2021-01407-3            July 20, 2021
                      Chemistry
                        DNA                     TBD                 2021-01407-4                 TBD
                          LPOU                  TBD                 2021-01407-5                 TBD

                Please allow a minimum of thirty days from the date of a discovery request for the FBI
                Laboratory to provide the related materials. The FBI cannot ensure timely delivery of discovery
                requests in less time. This report contains the opinions and interpretations of the issuing
                examiner(s) and is supported by records retained in the FBI files. The work described in this
                report was conducted at the Quantico Laboratory.


                                                                    Christopher Rigopoulos
                                                                    Explosives Unit




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